. Case: 1:19-cv-01039-MRB-SKB Doc #: 4 Filed: 12/10/19 Page: 1 of 9 PAGEID #: 52
&. .

 

COMMON PLEAS COURT
HAMILTON COUNTY, OHIO

Dn Theormpnd
Zit Quen ST Himol

vs he La wSart

on

2000 E, Sharon RD, Coy 4524]

caseNo.___ 41995 353

TYPE OF FILING OR ENTRY

 

 

 

 

 

 

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S/Civil Filing Form ~ No Attorney

 

VERI FY RECORD
Case: 1:19-cv-01039-MRB-SKB Doc #: 4 Filed: 12/10/19 Page: 2 of 9 PAGEID #: 53

~ EEOC Farm § (11/09) \

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form Is affected by the Privacy Act of 1974. See enclosed Privacy Act [| FEPA
Statement and other information before completing this form.
[x] Ezoc 473-2019-01579

 

 

Ohio Civil Rights Commission and EEOC
State or focal Agency, if any

 

 

 

 

Name (indicate Mr, Ms., Mrs.) Home Phone (inci. Area Code) Date'of Birth

 

 

 

 

 

Ms. Denise Thurmond 1964
Street Address
Hamilton, OH 45011

AUG 15 2019

 

  
  

Named is the Employer, Labor Organization, Emptoyment Agency, Anprepticesbin Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list ungBE PARC. aOOXIAA

  

 

     

No. Emptoyees, Members Phone No. (include Area Code)

§00 or More (513) 782-7800

Name

FORD MOTOR COMPANY

 

 

Street Address City, State and ZIP Code
3000 E. SHARON ROAD, Cincinnati, OH 45241

 

 

 

 

 

Name No. Employees, Members Phone No. (laclude Area Code)

Street Address City. State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box/(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[race [ ]couor [ ]sex [7 ]reucion [~ | nationatonicin 04-15-2019 08-14-2019
RETALIATION [] AGE [x] DISABILITY [| GENETIC INFORMATION

OTHER (Specify) / [| CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)).
1. | have a disability. Since my employment, | have been harassed by the human resources personnel
regarding my work schedule. I requested a reasonable accommodation due to my disability.
However, nothing has been done to accommodate me, which | believe is in retaliation for filing an
internal harassment complaint. Since filing my internal complaint and informing management that |
was going to file a claim with the EEOC, on or about August 14, 2019, | was terminated.

I. Management is responsible for the above discriminatory action.

lll. | believe | have been discriminated and retaliated against in violation of the Americans with
Disabilities Act of 1990, as amended.

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY ~ When necessary for State and Local Agency Requirements

 

will advise the agencies if 1 change my address or phone number and | will
cooperate fully with them in the processing of my charge in neon with the

procedures. oon 1 swear or affirm that | have read the above charge and that it is true to

 

 

the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

| declare under penaity of perjury that thd above is true and co

  

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE

Aug 15, 2019 vl month, day, year}

Vv a
Date aria Party Signature

 

 

\

 
 

Case: 1:19-cv-01039-MRB-SKB Doc #: 4 Filed: 12/10/19 Page: 3 of 9 PAGEID #: 54

“EEOC Form 5 (11/09)

 

 

 

 

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974, See enclosed Privacy Act [| FEPA
Statement and other information before completing this form.
[x] EEoc 473-2019-01579
Ohio Civil Rights Commission and EEOC
| State or local Agency, if any

Name (indicate Mr, Ms., Mrs.) Home Phone {incl Area Code) Date of Birth
Ms. Denise Thurmond 1964
Street Address City, State and ZIP Code -

Hamiiton, OH 45011

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
| Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code)
FORD MOTOR COMPANY §00 or more (513) 782-7800
Street Address City, State and ZIP Code

3000 E. SHARON ROAD, Cincinnati, OH 45241

 

 

 

 

 

Name No, Employees, Members Phone No. (laciude Area Code)

Street Address . . City, State and ZIP Code

OISCRIMINATION BASED ON (Check appropriate box(es) ) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[_] race [~]coor [ ]sex [| reuicion ["_] nationat onicin 04-15-2019 05-01-2019
RETALIATION [ | AGE OISABILITY [| GENETIC INFORMATION ,

[| OTHER (Specify) [ ] CONTINUING ACTION’
THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)): . .
|. [have a disability. Since my employment, | have been harassed by the human resources personnel
regarding my work schedule. | requested a reasonable accommodation due to my disability.
However, nothing has been done to accommodate me, which ! believe is in retaliation for filing an
internal harassment complaint.

 

 

ll. Management is responsible for the above action.

Ill. | believe | have been discriminated against in violation of the Americans with Disabilities Act of
1990, as amended.

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY ~ When necessary for State and Local Agency Requirements
wilt advise the agencies ff! change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

procedures. (swear or affirm that | have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month. day. yean

 

Date Charging Party Signature

 

 

 

 
Case: 1:19-cv-01039-MRB-SKB Doc #: 4 Filed: 12/10/19 Page: 4 of 9 PAGEID #: 55

“EEOC Form 161 (1196) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Denise Thurmond From: Cincinnati Area Office
John W. Peck Fed. Bidg
Hamilton, OH 45011 550 Main St Room 10-019

Cincinnati, OH 45202

 

C_] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

William 0. Coleman,
473-2019-01579 Investigator (513) 914-6013

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fait to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

A OUOUO

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

Niebaure. L. Brew sms AUG 2 1 2019

 

Enclosures(s) Melanie L. Breen, (Dale Mailed)
Area Office Director

Suzie Furton

Equal Employment Planning
FORD MOTOR COMPANY

One American Road, 123-A6 WHQ
Dearborn, Ml 48126
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Case: 1:19-cv-01039-MRB-SKB Doc #: 4 Filed: 12/10/19 Page: 5 of 9 PAGEID #.56

 

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COURT OF COMMON PLEAS CLASSIFICATION FORM AFTAB PUREVAL
HAMILTON COUNTY, OHIO CLERK OF COURTS
. WWW.COURTCLERK.ORG
41905353
CASE NUMBER: . PLAINTIFF:

 

PURSUANT TO SUPERINTENDENCE RULE 4, THIS CASE WAS ORIGINALLY FILED AND DISMISSED

UNDER CASE NUMBER:

 

PLEASE INDICATE CLASSIFICATION INTO WHICH THIS CASE FALLS (please only check one):

[__] Other Tort — C360

C_ | Personal Injury — C310

[| _] Wrongful Death — C320
[__] Vehicle Accident — C370

[__] Professional Tort — A300
[_] Personal Injury — A310
[__] Wrongful Death — A320
[__] Legal Malpractice — A330

[__] Medical Malpractice ~ A340

(_] Product Liability — B350
(__] Personal Injury — B310
(_] Wrongful Death - 6320

[] Worker's Compensation

(__] Non-Compliant Employer — D410
[J Appeal — D420

(_] Administrative Appeals — F600
[_] Appeai Civil Service — F610
[__] Appeal Motor Vehicle — F620
[__] Appeal Unemployment — F630
([_] Appeal Liquor — F640

[__] Appeal Taxes — F650

[1] Appeal Zoning — F660

(_] Certificate of Qualification — H600

DATE:

Revised 01/02/2017

MAF

. m~ =
Def Other Civil — 1700-34 = Fo
or 7

[] Appropriation —-H710 = OoFfnm
[__] Accounting — 1720 vy 2 2 a
([_] Beyond Jurisdiction -7367=,, + DBxoO
[__] Breach of Contract — 740 co =o
(J Cancel Land Contract— 759% feo
{__] Change of Venue — H760 U mS
[__] Class Action — H770 © i) inet
[__] Convey Declared Void — H780 WwW 2
[| Declaratory Judgment — H790 ay

[__] Discharge Mechanics Lien —-H800-
[_] Dissolve Partnership — 1810
[__] CONSUMER SALES ACT (1345 ORC) -— H820

[__] Check here if relief includes declaratory
judgment, injunction or class action
recovery — H825

(_] Habeas Corpus ~ H830

(__] Injunction — H840

[__] Mandamus — H850

[__] On Account — H860

[__] Partition — H870

(__] Quiet Title —- H830

[__] Replevin — H890

[__] Sale of Real Estate - H900

L__] Specific Performance -— 910

[__] Restraining Order —H920

[__] Testimony — H930-21

(__] Environmental — H940

[_] Cognovit — H950

[__] Menacing by Stalking - H960

LCL] ] Repo Title - Transfer of Title Only — 970

C_] ] Repo Title — With Money Claim — H980
{___] injunction Sexual Predator — 990

[_] SB 10 — Termination - H690

[__] SB 10 — Reclassification — H697

 

ATTORNEY (PRINT): DewseThurwo nc

OHIO SUPREME COURT NUMBER: ZAGAT
 

 

Case: 1:19-cv-01039-MRB-SKB Doc #: 4 Filed: 12/10/19 Page: 6 of 9 PAGEID #: 57

THE STATE OF OHIO, HAMILTON COUNTY
COURT OF COMMON PLEAS

Danie | urimonde :  CASENo. 41999 383_

 

 

 

Plaintiff
: AFFIDAVIT OF INDIGENCY
-vS- : ,
Para Mo toe C's po

Defendant 7 __
D127164912 rt
Dox oe — fl m= cortm
? a 2 £02
IM) se) Yiu VYyMo the undersigned, being first diiTF' sworn and=o
Name eon
mr VON
. cj Di mzZe
cautioned, deposes and states as follows: ~S nN Br
ww Qo”

ww =

That he/she is the party in the above styled case;
That he/she is a citizen of the State of Ohio;
That he/she is indigent and unable to pay the costs and charges involved in the
within matter; .

4. That he/she is entitled to the redress that is sought in the above styled action to
the best of his/her knowledge and belj

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NOTARY PUBLIC i 3 JULIE KOEHNE
C Ee RS *2 Notary Public, State of Ohio
% A = My Commission Expires 09-19-2021
XS >
Senate Bill 10 ALS ; eos 12/06/07

 

VERIFY RECORD
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Case: Lgecy pigse-MRB-SKE Doc #: 4 Filed; 12/10/19 Page: 7 of 9 PAGEID #: 58

lor AI4YO5454

rmac ComPlant-

TO WHOM IT MAY CONCERN: | WANT TO ADDRESS HOW | WAS HARASSED, DISCRIMINATED AND
RETIALIATED AGAINST WHILE | WORKED AT FORD MOTOR CO. BY LABOR RELATION NICK JOHNSON AND
LIZ RUNYON. WHEN | WAS IN ORIENTATION CLASS NICK WAS TEACHING DIVERSITY SEVERAL CLASS
MEMBERS MENTION TO NICK ABOUT EMPLOYEES TREATING THEM DIFFERENT WHEN YOU START A
NEW JQB, | PIGGY BACK ON WHAT THEY SAID NICK IMMEDIATELY TOLD THE CLASSTO GO ON BREAK
AND TOLD ME WE ARE OFFLINE COME TO HIS OFFICE ,HE STOOD IN MY FACE AND YELLED AT ME
SAYING , DON’T EVER SAY ANYTHING WHEN HE IS TEACHING THE CLASS, | SAID WHERE IS TRE OTHER
CLASS MEMBERS THEY SAID SOMETHING FIRST , NICK SAID DON’T WORRY ABOUT THI THEM VM TALKING
ABOUT YOU | SAID THAT’S NOT FAIR, NICK SAID DON:T SAY ANYTHING ELSE, i SAID OK YOLEWANT HEAR
ME SAY ANYTHING AGAIN . THE NEXT DAY IT WAS TIME TO GET THE JOB SCHEDULECLIZ cont IN. AND>
NICK WAS STANDING AT THE BACK OF THE CLASSROOM. LIZ TOLD ME | WAS SCHEDULED FOR S =o.
MIDNIGHT SHIFT, THE OTHER CLASS MEMBERS COMPLAINED ABOUT THEIR SCHEDULE LIZ SID SHES 2
WILL ACCOMMODATE ONE TIME ONLY A CLASS MEMBER ASKED IF SHE COULD GEFAMIDNIGHT:SE SHED
LiZ SAID YES EF HAVE TWO MIDNIGHT SHIFT DO YOU WANT ONE CLASS MEMEER SAID YES lRaTS NOR?
TAKING AWAY FROM DENISE LIZ SAID NO ITS NOT . LIZ LEFT THE ROOM SHORTLY LIZ COMEBACK IN
CLASS AND SAID DENISE YOUR GOING ON FIRST SHIFT , 1 SAID TO LIZ YOU SAID THAT IT WAS TWO
MIDNIGHT SHIFT AVAILABLE , LIZ SAID DON’T QUESTION HER IAM GOING ON FIRST SHIFT . ANOTHER
CLASS MEMBER SAID | WOULD LIKE FIRST SHIFT JNSTEAD OF SECOND SHIFT, L1Z GAVE CLASS MEMBER
THE FIRST SHIFT AND TOLD ME NOW IAM GOING TO SECOND SHIFT, | SAID LIZ YOU CHANGED MY
SCHEDULE THREE TIMES NOT ONE TIME DID | COMPLAIN ABOUT MY INITIAL SCHEDULE LIZ | TOLD YOU |
WAS SATISFIED WITH THE MIDNIGHT SHIFT , NICK JUMP IN THE CONVERSATION AND SAID COME WITH
ME MS. TRURMOND | WENT TO NICK OFFICE NICK STARTED YELLING AT ME AGAIN SAYING WHAT DID
YOUR APPLICATION SAY , | SAID 1 DON’T REMEMBER IT WAS A YEAR AGO NICK REPEATED AGAIN WHAT
DID YOUR APPLICATION SAY , 1 SAID ONCE AGAIN | DON’T REMEMBER NICK SAID YOUR TO TAKE WHAT
SCHEDULE WE INITIALLY GIVE YOU, | SAID NICK THE ATTMOSPHERE WASN’T GOOD | NEED TO GO PRAY
| WENT BACK TO CLASS , NICK IMMEDIATELTY COME TO THE CLASSROOM FINGERING ME TO COME
BACK TO HIS OFFICE | WENT BACK AND NICK REPEATEDAGAIN WHAT DID YOUR APPLICATION SAY YOUR
TO ACCEPT THE SCHEDULE WE GIVE YOU iF NOT YOU CANT WORK HERE, f SAID | WAS SATISFIED WITH
THE INITIAL SCHEDULE , LIZ ACCOMODATED THE OTHER CLASS MEMBERS WITHOUT ANY PROBLEM NICK
SAID NO MS. THURMOND ITS ABOUT YOU , | SAID | DON’T FEEL THAT’S FAIR , NICK SAID DON’T WORRY
ABOUT TREM 1AM SPEAKING TO YOU MS. TRURMOND AND WHAT ARE YOU GOING TO DO , 1 SAID
WHAT DO MEAN ABOUT WHAT IAM GOING TO DO , NICK REPEATED AGAIN WHAT ARE YOU GOING TO
DO , | SAID | WILL BE BACK ON MONDAY . FROM THAT DAY FORTH EVERY TIME NICK COME AROUND
THE CLASS MEMBERS WOULD WARN ME WHEN EVER NICK COME AROUND | WOULD DROP MY HEAD
TO AVOID ANY CONFRONTATION WITH NICK . | SPOKE WITH THE UNION ABOUT THE SCHEDULE CHANGE
THEY SPOKE WITH LIZ, SAID IF DENISE WANT TO BE ACCOMODATED SHE WILL HAVE TO GO SEE A
DOCTOR AND GET ACCOMODATION LETTER, LIZ SAID IF THE DOCTOR WRITE ONE SHE STILL DON’T HAVE
TO ACCOMMODATE ME .1 GAVE LIZ MY CHANGE OF ADDRESS FORM AND DIRECT DEPOSIT THE FIRST
DAY OF CLASS, LIZ SENT MY CHECK TO THE WRONG ADDRESS SO | DIDN’T GET PAID UNTIL FOUR WEEKS
LATER, LIZ SAID | DIDN’T LOOK AT YOUR CHANGE OF ADDRESS FORM. LiZ PLAYED GAMES ABOUT A
FORM ERIC TOLD HER TO GIVE ME | WENT TO HER OFFICE SHE SAID WHAT FORM, | SAID YOU JUST GOT
OFF THE PHONE WITH ERIC HE TOLD YOU IAM ON MY WAY TO YOUR OFFICE, | STARTED TO LEAVE LIZ
CALLED ME BACK SAYING DO YOU KNOW THE NAME OF THE FORM. | WAS CALLED IN LABOR

_ RELATION OFFICE ABOUT A 60 DAY REVIEW THEY MENTION | NEED TO GET THE PARTS CLOSED QUT

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VERIFY RECORD
Case: 1:19-cv-01039-MRB-SKB Doc #: 4 Filed: 12/10/19 Page: 8 of 9 PAGEID #: 59

IMMEDIATELY BECAUSE IT COULD BE A PROBLEM MANAGEMENT SAID THEY CAN SEE WHEN IAM ON
THE COMPUTER BY MY LOG IN NUMBER AND TELL WHAT IAM DOING , | TOLD THEM | NEVER HAD ALOG
IN NUMBER , THEY SAID YOU DON’T HAVE ONE , |KNOW THEY WHERE TELLING A LIE . THEY SAID |
WOULD GET ALOG IN NUMBER AND PAGER AND TO COME BACK IN TWO WEEKS FOR A UPDATE , TWO
WEEKS LATER THEY CANCELLED THE MEETING . THREE TIMES SAYING WHITLOCK WASN'T IN THE
BUILDING TO BE APART OF THE MEETING | SEEN WHITLOCK IN THE BUILDING , ALSO THEY SAID ROBIN
NEED TO BE THEIR ROBIN AND | WENT TO LABOR RELATION AND ONCE AGAIN THEY CANCELLED THE
MEETING , | ASKED WHY, THEY COULDN'T GIVE ME EXPLANATION WHY. | TOLD LIZ ABOUT MY
DISABILITY SERVICE ANIMAL AND | HAVE DOCTOR APPOINTMENTS, L!Z SAID WE CAN EXCUSE YOU IF
YOU NEED TO GO, | GAVE THE HOSPITAL A COPY OF MY SERVICE ANIMAL . NURSE CALLED LIZ AND SAID
SHE CANT BRING THE ANIMAL INSIDE THE PLANT DENISE NEED TO BE ACCOMODATED, | GOT AWOL ON
NEEDING TO GET MY ANIMAL TO DAYCARE , NICK WAS ON THE PHONE TALKING AND LAUGHING TO
SOMEONE ABOUT ME NICK SAID MS. THURMOND SHES HERE ABOUT HER SERVICE ANIMAL BUT M5,
THURMOND DON’T KNOW SHES OUT OF HERE, SHE WONT BE WORKING HERE. LAURYN CALLED ME IN
THE OFFICE ON 8/14/19 WHICH | THOUGHT IT WAS ABOUT MY REVIEW HOWEVER LAURYN SAID LABOR
RELATION AND MANAGEMENT GOT TOGETHER FELT THEY NO LONGER NEED ME TO WORK HERE DUE
TO UNSATISFACTORY WORK PERFORMACE , | SAID YOU NEVER HAD THE REVIEW WHATS GOING ON
WITH THE REVIEW , LAURYN GOT LOUD SAYING ITS NOT GOING TO BE A REVIEW AND SHE IS ENDING
THE CONVERSATION. 1 SAID BECAUSE | FILED A COMPLAINT ON NICK AND LIZ SO YOU ALL ARE
RETIALIATING AGAINST ME. ALSO NATHAN CALLED ME IN ABOUT THE COMPLAINT f FILED HE SAID
THAT HE WAS CLOSING OUT THE COMPLAINT , 1 ASKED NATHAN HOW WAS IT RESOLVED NATHAN SAID
HE TALKED TO ALL WITNESSES AND HE WASN’T GOING TO TELL ME HOW HE RESOLVED IT . | SPOKE
WITH ONE OF THE WITNESSES MENTION IN THE COMPLAINT SHE SAID NATHAN NEVER SPOKE TO HER
ABOUT THE COMPLAINT. ALSO ON SHUT DOWN IN JULY CLASSMEMBERS SAID THEY RECEIVED A MASS
LAYOFF PAPER TO APPLY FOR UNEMPLOYMENT WHICH THEY GOT PAID , | WASN'T GIVEN ONE UNTILI
GOT BACK TO WORK FROM SHUT DOWN I CALLED UNEMPLOYMENT THEY SAID YOUR BACK TO WORK |
WOULD BE DENIED . ALSO THE SAME CONCERN ABOUT THE CLOSING GF THE PARTS , | FOUND A LOT OF
OPEN PARTS FOR TWO WEEKS THAT ANOTHER EMPLOYEE HAD NOT CLOSED WHICH | MENTIONED TO
MANAGEMENT AND EMPLOYEES , HOWEVER THEY SAID | WAS WRONG IF | HAD OPEN PARTS. IVE BEEN
WORKING IN A HOSTILE ENVIROMENT FROM DAY ONE DISCRIMINATED AND RETIALIATED AGAINST FOR
NO APPARENT REASON, | COME TO WORK ON TIME AND ALWAYS WILLING TO WORK.

SINCERELY,

iSE THURMOND
x
Case: 1:19-cv-01039-MRB-SKB Doc #: 4 Filed: 12/10/19 Page: 9 of 9 PAGEID #: 60

u M E RCYH Ee ALTH Forest Park Internal Medicine and Pediatrics

11550 Winton Road
Cincinnati, OH 45240
oO: 513-924-8200

f: 513-924-8201
mercy.cam

 

Forest Park IM & Pediatrics
11550 WINTON ROAD
FOREST PARK OH 45240
Phone: 513-924-8200

Fax: 513-924-8201

Stephen Edwin Wilson, MD

August 23, 2019

Patient: Denise A Thurmond
Date of Birth: 1/12/1964
Date of Visit: 8/23/2019

To Whom It May Concern:

Denise A Thurmond is under my care for general anxiety disorder. She was initially managed on as-neeed
Clonazepam and Trileptal. She stopped the Clonazepam in April 2019. She started a new job and reported
being harrassed. She was subsequently dismissed from the position. After the dismissal her anxiety
increased substantially (GAD7 increase from 9 to 15). This is requiring her to take additional antidepressanis
and anxiolytics to help with there mood and anxiety.

if you have any questions or concerns, please don't hesitate to call.
Sincerely,

aK LW

Stephen E. Wilson, MD, MSc, FACP, FAAP

Mercy Health Forest Park Internal Medicine-Pediatrics
11550 Winton Road

Forest Park, OH 45240

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